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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CRIMINAL NO. 21-cr-670
               v.                              :
                                               :
STEPHEN K. BANNON,                             :
                                               :
                       Defendant.              :

 UNITED STATES’ MOTION FOR LEAVE TO FILE SURREPLY TO DEFENDANT’S
    MOTION TO COMPEL DISCOVERY RELATING TO ROBERT COSTELLO

       In his reply in support of his motion to compel discovery pertaining to the Government’s

investigative steps related to Robert Costello, ECF No. 34, the Defendant raises for the first time

new factual allegations and legal arguments. Specifically, while the Defendant’s original motion,

ECF No. 26, was limited to claims for discovery based on an alleged violation of the attorney-

client privilege, the Defendant’s reply makes new allegations of misconduct and claims for

discovery based on alleged improprieties in the collection of records unrelated to the Defendant’s

attorney. Because the Defendant did not raise these in his initial motion, the Government

respectfully requests that the Court allow it to file the attached surreply to address the Defendant’s

new factual claims and arguments. Cf. Flynn v. Veazey Const. Corp., 310 F. Supp. 2d 186, 189,

190 (D.D.C. 2004) (granting motion to file surreply in a civil case where moving party raised a

new argument for the first time in its reply and finding “[i]f the movant raises arguments for the

first time in his reply to the non-movant’s opposition, the court will either ignore those arguments

in resolving the motion or provide the non-movant an opportunity to respond to those arguments

by granting leave to file a sur-reply”).
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney
                           D.C. Bar No. 481052

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